Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17    Page 1 of 19   PageID #:
                                     1054                                   EXHIBIT
                                                                                 1
                          United States District Court
                               District Of Maine


 Christopher O’Connor, et al.               )
                                            )
                          Plaintiffs,       )
                                            )
               v.                           )   Civil Action No. 2:14-00192-NT
                                            )
 Oakhurst Dairy, et al.                     )
                                            )
                          Defendants.       )


                    Third Amended Class Action Complaint
                          And Demand for Jury Trial


       Plaintiffs, Christopher O’Connor, Kevin O’Connor, James Adam Cox,

 Michael Fraser, and Robert McNally, on behalf of themselves and all

 others similarly situated, complain of Defendant Oakhurst Dairy and

 Dairy Farmers of America, Inc., (jointly referred to as Oakhurst for the

 period of time after Oakhurst became a wholly-owned subsidiary of Dairy

 Farmers of America), as follows:


 I.    Introduction

       This is an action brought by former and current delivery drivers of

 Oakhurst Dairy (“Oakhurst”), pursuant to the Maine Minimum Wage and

 Overtime Law, 26 M.R.S. §§ 661 et seq, to recover unpaid minimum wage

 and overtime compensation. Plaintiffs Christopher O’Connor, Kevin
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17        Page 2 of 19   PageID #:
                                     1055



 O’Connor, James Adam Cox, Michael Fraser, and Robert McNally

 (collectively, “Plaintiffs”) bring this action on their own behalf and on

 behalf of all others similarly situated to them who were formerly or are

 currently employed as delivery drivers by Oakhurst in the State of Maine.


 II.   Jurisdiction And Venue

       1.    This Court has diversity jurisdiction over this action under the

 Class Action Fairness Act, 28 U.S.C. §1332(d), because the aggregate

 amount in controversy for the putative class exceeds $5,000,000; at least

 one plaintiff is a citizen of a different state than at least one defendant;

 and the aggregate number of proposed class members is 100 or more.

       2.    This Court has supplemental jurisdiction over the state law

 claims under 28 U.S.C. § 1367(a), because Plaintiffs brought claims under

 the federal FLSA, 29 U.S.C. § 201 et seq., over which the Court exercised

 federal question jurisdiction under 28 U.S.C. § 1331.

       3.    Venue properly lies in this Court under 28 U.S.C. § 1391

 because the Defendant Oakhurst maintains a place of business in this

 judicial district and a substantial part of the events or omissions giving

 rise to the claim occurred within this judicial district.




                                        2
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17      Page 3 of 19     PageID #:
                                     1056



 III.   Jury Demand

        4.    Plaintiffs demand trial by jury of all claims to the extent

 permitted by law.


 IV.    Parties

                        Plaintiff Christopher O’Connor

        5.    Plaintiff Christopher O’Connor is a citizen of the United States

 and a resident of Brunswick, Maine.

        6.    From approximately 2003 until 2015, Plaintiff Christopher

 O’Connor (“C. O’Connor”) was employed by Defendant Oakhurst as a

 delivery driver based in Portland, Maine.

        7.    C. O’Connor was, at all material times, a covered, non-exempt

 employee of Oakhurst within the meaning of the Maine Minimum Wage

 and Overtime Law.

        8.    During his employment with Oakhurst, C. O’Connor regularly

 worked in excess of forty (40) hours in a work week.

        9.    During his employment with Oakhurst, C. O’Connor was not

 paid at least one and one-half times his regular hourly rate for all hours

 worked in excess of forty (40) in a work week.

        10.   During his employment with Oakhurst, C. O’Connor was not

 been paid at a rate “reasonably equivalent” to at least one and one-half


                                        3
Case 2:14-cv-00192-NT    Document 160-1 Filed 06/26/17     Page 4 of 19   PageID #:
                                      1057



 times his regular hourly rate for all hours worked in excess of forty (40) in

 a work week.

                            Plaintiff Kevin O’Connor

         11.   Plaintiff Kevin O’Connor is a citizen of the United States and a

 resident of Winslow, Maine.

         12.   From about September 2005 until August 26, 2009, Plaintiff

 Kevin O’Connor (“K. O’Connor”) was employed by Defendant Oakhurst as

 a delivery driver based primarily in Waterville, Maine.

         13.   K. O’Connor was, at all material times, a covered, non-exempt

 employee of Oakhurst within the meaning of the Maine Minimum Wage

 and Overtime Law

         14.   During his employment with Oakhurst, K. O’Connor regularly

 worked in excess of forty (40) hours in a work week.

         15.   During his employment with Oakhurst, K. O’Connor was not

 paid at least one and one-half times his regular hourly rate for all hours

 worked in excess of forty (40) in a work week.

         16.   During his employment with Oakhurst, K. O’Connor was not

 paid at a rate “reasonably equivalent” to at least one and one-half times his

 regular hourly rate for all hours worked in excess of forty (40) in a work

 week.



                                        4
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17    Page 5 of 19   PageID #:
                                     1058



                          Plaintiff James Adam Cox

       17.   Plaintiff James Adam Cox is a citizen of the United States and

 a resident of Woolwich, Maine.

       18.   From about May 2009 until July 20, 2011, Plaintiff James

 Adam Cox (“Cox”) was employed by Defendant Oakhurst as a delivery

 driver based primarily in Portland, Maine.

       19.   Cox was, at all material times, a covered, non-exempt

 employee of Oakhurst within the meaning of the Maine Minimum Wage

 and Overtime Law

       20.   During his employment with Oakhurst, Cox regularly worked

 in excess of forty (40) hours in a work week.

       21.   During his employment with Oakhurst, Cox was not paid at

 least one and one-half times his regular hourly rate for all hours worked in

 excess of forty (40) in a work week.

       22.   During his employment with Oakhurst, Cox was not paid at a

 rate “reasonably equivalent” to at least one and one-half times his regular

 hourly rate for all hours worked in excess of forty (40) in a work week.

                           Plaintiff Michael Fraser

       23.   Plaintiff Michael Fraser is a citizen of the United States and a

 resident of Holden, Maine.



                                        5
Case 2:14-cv-00192-NT    Document 160-1 Filed 06/26/17    Page 6 of 19    PageID #:
                                      1059



         24.   From approximately November 2009 until February 2012,

 Plaintiff Michael Fraser (“Fraser”) was employed by Defendant Oakhurst

 as a delivery driver based in Bangor, Maine.

         25.   Fraser was, at all material times, a covered, non-exempt

 employee of Oakhurst within the meaning of the Maine Minimum Wage

 and Overtime Law.

         26.   During his employment with Oakhurst, Fraser regularly

 worked in excess of forty (40) hours in a work week.

         27.   During his employment with Oakhurst, Fraser was not paid at

 least one and one-half times his regular hourly rate for all hours worked in

 excess of forty (40) in a work week.

         28.   During his employment with Oakhurst, Fraser was not paid at

 a rate “reasonably equivalent” to at least one and one-half times his

 regular hourly rate for all hours worked in excess of forty (40) in a work

 week.

                            Plaintiff Robert McNally

         29.   Plaintiff Robert McNally is a citizen of the United States and a

 resident of Bangor, Maine.

         30.   From approximately January 2002 until August 2012, Plaintiff

 Robert McNally (“McNally”) was employed by Defendant Oakhurst as a

 delivery driver based in Bangor, Maine.

                                        6
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17     Page 7 of 19   PageID #:
                                     1060



         31.   McNally was, at all material times, a covered, non-exempt

 employee of Oakhurst within the meaning of the Maine Minimum Wage

 and Overtime Law.

         32.   During his employment with Oakhurst, McNally regularly

 worked in excess of forty (40) hours in a work week.

         33.   During his employment with Oakhurst, McNally was not paid

 at least one and one-half times his regular hourly rate for all hours worked

 in excess of forty (40) in a work week.

         34.   During his employment with Oakhurst, McNally was not paid

 at a rate “reasonably equivalent” to at least one and one-half times his

 regular hourly rate for all hours worked in excess of forty (40) in a work

 week.

         35.   The above-named Plaintiffs bring this action on their own

 behalf and on behalf of a group of all others similarly situated. Plaintiffs

 seek certification of a class action under Rule 23 of the Federal Rules of

 Civil Procedure.

           Defendants Oakhurst and Dairy Farmers of America, Inc.

         36.   Defendant Oakhurst is a Maine company. Until January 2014,

 Oakhurst had its headquarters in Portland, Maine. On or about

 January 31, 2014, Oakhurst was purchased by Dairy Farmers of America,



                                        7
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17    Page 8 of 19   PageID #:
                                     1061



 Inc., a national cooperative. As part of this purchase, Defendant Oakhurst

 became a wholly-owned subsidiary of Dairy Farmers of America, Inc.

       37.   Defendant Dairy Farmers of America, Inc. is a cooperative

 headquartered in Kansas City, Missouri. On or about January 31, 2014,

 Dairy Farmers of America, Inc. purchased Oakhurst.

       38.   Defendant Oakhurst bottles milk and produces other dairy

 products from a facility in Portland, Maine. Milk, dairy, water, and other

 products are distributed by delivery drivers from Oakhurst facilities within

 the State of Maine in Portland, Waterville, Bangor, and Presque Isle.

       39.   Defendant Oakhurst is subject to the requirements of the

 Maine Minimum Wage and Overtime Law.

       40.   Defendant Oakhurst is subject to the requirements of the

 Maine Minimum Wage and Overtime Law, 26 M.R.S. §§661 et seq. because

 it suffered or permitted Plaintiffs to work as defined by 26 M.R.S. § 663(2).


 V.    General Factual Allegations

       41.   Defendant Oakhurst holds itself out to be the “only truly local

 major dairy” in Northern New England and purveyor of the “Natural

 Goodness of Maine.”

       42.   At all relevant times, Plaintiffs were employed as delivery

 drivers for Oakhurst based in the State of Maine.


                                       8
Case 2:14-cv-00192-NT     Document 160-1 Filed 06/26/17    Page 9 of 19   PageID #:
                                       1062



          43.   Oakhurst designates its delivery drivers by the job title “Route

 Sales Driver.” The so-called “Route Sales Drivers” do not solicit sales,

 although a small minority of Oakhurst customers did request to have the

 Drivers assess their inventory and order the products needed to replenish

 stock.

          44.   As Route Sales Drivers based in Maine, Plaintiffs’ regular job

 duties consist of picking up loaded trucks from one of Oakhurst’s facilities,

 driving the trucks loaded with milk, water, and other products to

 Oakhurst’s retail customers, assisting with unloading the products at the

 sites of Oakhurst customers, and driving the empty trucks back to the

 original facility where the route was initiated.

          45.   Route Sales Drivers regularly worked in excess of forty (40)

 hours in a work week.

          46.   Oakhurst paid Route Sales Drivers a flat weekly “salary”

 regardless of how many hours they worked or miles they drove. If Route

 Sales Drivers worked a sixth day within a given work week, they received

 an additional lump sum, which was calculated as a percentage of the

 employee’s “salary.”

          47.   At any given time, Oakhurst employs approximately 50 Route

 Sales Drivers.



                                         9
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17      Page 10 of 19   PageID
                                   #: 1063



       48.   Route Sales Drivers were not compensated at the rate of one

 and one-half times their regular rate of pay for hours worked over forty

 (40) per week.

       49.   Route Sales Drivers were not paid an amount of overtime pay

 “reasonably equivalent” to that required by the Maine Minimum Wage and

 Overtime Law, 26 M.R.S. §664, one and one-half times their regular rate of

 pay for hours worked over forty (40) per week.

                               Class Allegations

       50.   The above-named Plaintiffs bring this action on their own

 behalf and on behalf of a group of all others similarly situated. Plaintiffs

 seek certification of a class action under Rule 23 of the Federal Rules of

 Civil Procedure.

                        Maine Class Action Allegations

       51.   Plaintiffs seek to bring a class action for unpaid overtime in

 violation of the Maine Minimum Wage and Overtime Law. For purposes of

 Plaintiffs’ allegations under the Maine Minimum Wage and Overtime Law,

 Plaintiffs seek to represent a class consisting of all persons who were

 employed by Oakhurst as Route Sales Drivers at any time between May 5,

 2008 and August 30, 2012.




                                       10
Case 2:14-cv-00192-NT    Document 160-1 Filed 06/26/17     Page 11 of 19   PageID
                                    #: 1064



       52.    The class described above is sufficiently numerous such that

 joinder of all persons in the class is impracticable, as required by Fed. R.

 Civ. P. 23(a)(1).

       53.    As required by Fed. R. Civ. P. 23(a)(2), there are questions of

 law and fact common to the class, including but not limited to:

       a) the nature of the job duties and responsibilities of Route

 Salesmen;

       b) the manner in which Oakhurst compensated Route Sales Drivers

 for the work they performed;

       c) whether Oakhurst violated the Maine Minimum Wage and

 Overtime Law, 26 M.R.S. 664(3), by failing to pay its Route Sales Drivers

 at the rate of one and one-half times their regular rate of pay for hours

 worked over forty (40) per week;

       d) whether Oakhurst violated the Maine Minimum Wage and

 Overtime Law, 26 M.R.S. 664(3)(H) (eff. Sept. 1, 2003, repealed eff. August

 30, 2012) (“Former Section 664(3)(H)”), by failing to pay its Route Sales

 Drivers an amount of overtime “reasonably equivalent” to that required by

 26 M.R.S. §664 for hours worked over forty (40) per week;

       54.    As required by Fed. R. Civ. P. 23(a)(3), the claims of Plaintiffs

 are typical of the class they seek to represent.



                                       11
Case 2:14-cv-00192-NT    Document 160-1 Filed 06/26/17      Page 12 of 19   PageID
                                    #: 1065



       55.   Plaintiffs and their counsel will fairly and adequately protect

 the interests of the class as required by Fed. R. Civ. P. 23(a)(4).

       56.   Under Fed. R. Civ. P. 23(b)(1)(A), class certification is

 appropriate here because the prosecution of separate actions by individual

 members of the class would create a risk of inconsistent adjudication with

 respect to individual members, which would establish incompatible

 standards of conduct for the parties opposing the class.

       57.   Under Fed. R. Civ. P. 23(b)(1)(B), class certification is

 appropriate here because the prosecution of separate actions by individual

 members of the class would create a risk of adjudication with respect to

 individual members of the class which would, as a practical matter,

 substantially impair or impede their ability to protect their interests.

       58.   Under Fed. R. Civ. P. 23(b)(3), class certification is appropriate

 here because the questions of law or fact common to the members of the

 class predominate over any questions affecting only individual members,

 and because a class action is superior to other available methods for the

 fair and efficient adjudication of the controversy.

       59.   Maintenance of this action as a class action will promote the

 efficient administration of justice by obviating the need of numerous

 individual members to commence their own action.



                                       12
Case 2:14-cv-00192-NT    Document 160-1 Filed 06/26/17     Page 13 of 19    PageID
                                    #: 1066



       60.    Maintenance of this action as a class action will promote the

 equitable administration of justice since many individual members may

 not have the resources to independently retain counsel and pursuing

 claims on an individual basis would be disproportionately expensive.

       61.    Maintenance of this action as a class action is unlikely to

 impose burdens upon the Court other than those which would be

 encountered if the action were to proceed as an individual action on behalf

 of Plaintiffs.

       62.    The aggregate number of proposed class members is 100 or

 more. During the proposed Rule 23 class period of May 5, 2008 through

 August 30, 2012, Oakhurst employed well over 100 Route Sales Drivers

 similarly situated to Plaintiffs to deliver milk, water, and other products to

 its customers.

       63.    The aggregate amount in controversy exceeds $5,000,000.

 Plaintiffs calculate the unpaid overtime wages and liquidated treble

 damage penalties owed to the class for the proposed class period of May 5,

 2008 through August 30, 2012 to be about $15,000,000. Plaintiffs calculate

 the aggregate unpaid overtime wages and liquidated double damages owed

 to the class to be about $10,000,000. Plaintiffs further calculate that pre-

 judgment interest is owed at a rate of about $1,000,000 per annum.



                                       13
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17     Page 14 of 19   PageID
                                   #: 1067




 VI.   Causes Of Action

                                    Count I

                            [Intentionally Omitted]

                                   Count II

               (Failure to Pay Overtime In Violation of Maine
             Minimum Wage and Overtime Law, 26 M.R.S. § 664)

       64.   Plaintiffs reallege and hereby incorporate by reference all of

 the foregoing paragraphs as if set forth in their entirety herein.

       65.   From September 2, 2003 until August 30, 2012, the Maine

 Minimum Wage and Overtime Law exempted certain drivers from

 overtime requirements to the extent that they were exempt under federal

 law, but still mandated that those drivers be paid an amount of overtime

 “reasonably equivalent” to that required by 26 M.R.S. § 664, one and one-

 half times the regular rate of pay for hours worked in excess of forty (40)

 per work week. See 26 M.R.S. § 664(3)(H) (eff. Sept. 1, 2003; repealed eff.

 August 30, 2012) (“Former Section 664(3)(H)”); 12-170 Code of Maine

 Regulations Ch. 14, section III (Department of Labor regulations

 promulgated pursuant to Former Section 664(3)(H)). Following legislative

 amendments, effective August 30, 2012, the Maine Minimum Wage and

 Overtime Law exempted certain drivers from overtime requirements, but

                                       14
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17    Page 15 of 19   PageID
                                   #: 1068



 still only to the extent that drivers were exempt under federal law. See 26

 M.R.S. § 664(3)(K) (eff. August 30, 2012).

       66.   At all material times during the putative class period, Route

 Salesman were covered, non-exempt employees of Oakhurst within the

 meaning of Maine law.

       67.   Route Sales Drivers were not exempt from the overtime

 requirements of the Maine Minimum Wage and Overtime Law pursuant to

 26 M.R.S. § 664(3)(K) or Former Section 664(3)(H) during the putative

 class period.

       68.   By its actions alleged above, Defendant Oakhurst violated

 during the putative class period the provisions of the Maine Minimum

 Wage and Overtime Law, 26 M.R.S. § 664(3), which requires overtime

 compensation for non-exempt employees.

       69.   By its actions alleged above, Defendant Oakhurst violated

 during the putative class period the provisions of Former Section

 664(3)(H), which required that Route Sales Drivers be paid an amount of

 overtime “reasonably equivalent” to that required by 26 M.R.S. § 664.

       70.   As a result of the unlawful acts of Defendant Oakhurst,

 Plaintiffs and all persons similarly situated to them have been deprived of

 overtime compensation in amounts to be determined at trial.



                                      15
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17     Page 16 of 19   PageID
                                   #: 1069



                                   Count III

              (Failure to Pay Overtime In Violation of Maine
         Employment Practices Act, 26 M.R.S. §§ 621-A, 626, 626-A)


       71.   Plaintiffs reallege and hereby incorporate by reference all of

 the foregoing paragraphs as if set forth in their entirety herein.

       72.   Federal and state overtime statutes are incorporated into any

 verbal or written employment agreement and replace any illegal wage

 term by operation of law.

       73.   Defendants failed to make full and timely payment at regular

 intervals to Route Sales Drivers of all wages, including overtime

 compensation, in violation of 26 M.R.S. § 621-A.

       74.   Defendant Oakhurst failed to pay Route Sales Drivers all

 wages in full, including overtime compensation, upon cessation of

 employment, in violation of 26 M.R.S. § 626.

       75.   Plaintiffs, on behalf of themselves and similarly situated

 employees, have made multiple demands to Defendant Oakhurst for

 payment of unpaid overtime wages and Defendant has not paid them

 within eight days of demand.

       76.   Plaintiffs and all persons similarly situated to them are

 entitled under 26 M.R.S. § 626-A to recover their unpaid overtime wages



                                       16
Case 2:14-cv-00192-NT      Document 160-1 Filed 06/26/17     Page 17 of 19   PageID
                                      #: 1070



 and an amount equal to twice the amount of their unpaid overtime wages,

 a reasonable rate of interest, costs of suit, and reasonable attorney’s fees.


 VII. Prayer For Relief

           WHEREFORE, Plaintiffs request that this Court order the following

 relief:

           77.   Enter an order certifying Plaintiffs and all employees similarly

 situated to them as a class under Rule 23 of the Federal Rules of Civil

 Procedure for violations of the Maine Minimum Wage and Overtime Law.

           78.   Order Defendant Oakhurst to pay all damages to which the

 named Plaintiffs and class members may be entitled, including unpaid

 overtime compensation, compensatory liquidated double damages under 26

 M.R.S § 670, treble damage penalties under 26 M.R.S. § 626-A, and pre-

 and post-judgment interest.

           79.   Order Defendant Oakhurst to pay costs and reasonable

 attorneys’ fees and litigation expenses.

           80.   Award such additional relief as the Court deems appropriate.




                                         17
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17     Page 18 of 19   PageID
                                   #: 1071



 Date: June 26, 2017                Respectfully submitted,


                                     /s/ Jeffrey Neil Young
                                    Jeffrey Neil Young

                                    /s/ David G. Webbert
                                    David G. Webbert

                                    /s/ Carol J. Garvan
                                    Carol J. Garvan

                                    Jeffrey Neil Young
                                    David G. Webbert
                                    Carol J. Garvan
                                    Johnson, Webbert & Young, LLP
                                    160 Capitol St., Suite 3
                                    Augusta, ME 04332
                                    Telephone: (207) 623-5110
                                    Email: jyoung@johnsonwebbert.com
                                    Email: dwebbert@johnsonwebbert.com
                                    Email: cgarvan@johnsonwebbert.com
                                    Attorneys for Plaintiffs




                                     18
Case 2:14-cv-00192-NT   Document 160-1 Filed 06/26/17    Page 19 of 19   PageID
                                   #: 1072




                            Certificate of Service

       I, David G. Webbert, hereby certify that on June 26, 2017, I

 electronically filed this document with the Clerk of the Court using the

 CM/ECF system which will send notification of such filing to all counsel of

 record.



                                     /s/ David G. Webbert
                                     David G. Webbert




                                      19
